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Attorneys for Defendant
Idaho-Pacific Corporation


                              UNITED STATES DISTRICT COURT

                                    FOR THE DISTRICT OF IDAHO


ROSS HATHAWAY,
                                                      Case No. 4:15-CV-00086-DCN
                       Plaintiff,
                                                      STIPULATION FOR
vs.                                                   EXTENSION OF DEADLINE

IDAHO PACIFIC CORPORATION,

                       Defendant.


       COME NOW the parties in the above-captioned case, by and through their respective

undersigned counsel of record, and hereby stipulate and agree that the deadline for Defendant

Idaho Pacific Corporation (“Idaho Pacific”) to file a response to Plaintiff’s Motion for Terminating

Sanctions (Dkt. 227) shall be extended for a period of seven (7) days, from January 24, 2020 until

January 31, 2020. The deadline for Plaintiff to file a reply brief shall also be extended for a period

of seven (7) days from January 31, 2020 until February 7, 2020.

       This stipulation is supported by good cause, as lead counsel Brad Williams left

employment at Parsons Behle & Latimer on January 20, 2020. Idaho Pacific’s remaining counsel

has been working to cover Mr. William’s sudden absence, but needs additional time to respond.




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     DATED THIS 23rd day of January, 2020.

                                      CASPERSON ULRICH DUSTIN PLLC




                                      By /s/ Amanda E. Ulrich (with permission)
                                         Amanda E. Ulrich
                                      Attorneys for Plaintiff Ross Hathaway


     DATED THIS 23rd day of January, 2020.

                                      PARSONS BEHLE & LATIMER




                                      By /s/ Amy A. Lombardo
                                         Amy A. Lombardo
                                      Attorneys for Defendant Idaho-Pacific Corporation




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                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on the 23rd day of January, 2020, I electronically filed the
within and foregoing instrument with the Clerk of the Court using the CM/ECF system, which
caused the following parties and counsel to be served by electronic means, as more fully reflected
on the Notice of Electronic Filing:

                DeAnne Casperson, Esq., Attorneys for Ross Hathaway
                dcasperson@workandwage.com

                Amanda E. Ulrich, Esq., Attorneys for Ross Hathaway
                aulrich@workandwage.com




                                                /s/ Amy A. Lombardo
                                                Amy A. Lombardo




STIPULATION FOR EXTENSION OF DEADLINE - 3
